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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


 UNITED STATES OF AMERICA

                 v.                                  CASE NO: GLR-18-0172
 KAMAL DORCHY,




               JOINT MOTION FOR A REVISED BRIEFING SCHEDULE

       Now comes the United States of America, by its attorney, Robert K. Hur, United States

Attorney for the District of Maryland, and Ayn B. Ducao, Jeffrey J. Izant, and Adam K. Ake,

Assistant United States Attorneys, and the Defendant Kamal Dorchy, by and through his attorneys

of record, Charles N. Curlett, Jr., Steven H. Levin, and Lauren M. McLarney, hereby requests a

revised briefing schedule regarding the pre-trial motions:

       1.      The Defendant, Kamal Dorchy, is charged in a seven-count Indictment with sex

trafficking, production of child pornography, and possession of child pornography, in violation

of 18 U.S.C. §§ 1591(a), 2251(a), and 2252A(a)(5)(B), respectively. See ECF No. 1.

       2.      On October 14, 2020, the Court issued a third revised scheduling order setting the

following dates: (1) All motions, except motions in limine, shall be filed by January 6, 2021; (2)

Responses due on or before January 25, 2021; (3) Replies due on or before February 10, 2021;

(4) the motions hearing is scheduled for March 10 and 11, 2021; and (5) the twelve-day jury trial

set to commence on October 4, 2021. See ECF No. 237 at 1-2.

       3.      On December 22, 2020, the Court revised the schedule to allow for defense

motions to be filed by January 20, 2021 and responses due February 10, 2021. See ECF No. 243.

       4.      On January 20, 2021, at the Court’s direction, the motions hearing dates were

postponed to July 29 and 30, 2021.

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       5.      For approximately the past two weeks, the parties have been engaged in

substantive plea discussions regarding a written plea offer extended to the Defendant. While the

Defendant filed two motions on January 20, 2021, this dual track has resulted in defense counsel

not being able to devote full resources to the consideration of whether other pre-trial motions or

supplemental briefing needs to be filed. Similarly, the Government has also not been able to

engage its full resources in consideration of the defense motions filed to date.

       6.      Therefore, the parties jointly respectfully request that the briefing scheduled be

revised as follows:

               a.      Further defense motions or supplemental briefing due by February 17,

                       2021.

               b.      Government response due by March 10, 2021.

               c.      Defense reply by March 17, 2021.

       Under this briefing schedule, the motions would still be fully briefed more than four

months prior to the start of the July 29 and 30, 2021 motions hearings.




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       WHEREFORE, the parties request that the Court revise the briefing schedule. A draft

proposed order is attached.




                                                  Respectfully submitted,


                                                  Robert K. Hur
                                                  United States Attorney

                                                          /s/
                                              By: ___________________________
                                                  Ayn B. Ducao
                                                  Jeffrey J. Izant
                                                  Adam K. Ake
                                                  Assistant United States Attorneys




                                                         /s/
                                                  _____________________________
                                                  Charles N. Curlett, Jr. (Fed Bar #28246)
                                                  Steven H. Levin (Fed Bar # 28750)
                                                  Lauren M. McLarney (Fed Bar #20982)
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Electronically served via ECF filing




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